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                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF UTAH
                                   Central Division


In re:

MOLONAI T. HOLA
xxx-xx-1322

AND
                                               Bankruptcy Case No. 11-34675 RKM
LINDSAY W. HOLA
                                                           (Chapter 7)
xxx-xx-3164
2766 St. Mary’s Way                            MEMORANDUM IN SUPPORT OF
Salt Lake City, Utah 84108
             Debtors.                              MOTION TO APPROVE
                                                 STIPULATION RESOLVING
                                               ADVERSARY PROCEEDING AND
                                                  REQUEST FOR ENTRY OF
CDC, INC. dba CRAWFORD DOOR                            JUDGMENT
SALES, a Utah corporation

              Plaintiff,
                                                 Adversary Proceeding No. 12-2011
v.

MOLONAI T. HOLA, an individual, and
LINDSAY W. HOLA, an individual,
                                                       [filed electronically]
             Defendants.


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      Contemporaneously herewith Plaintiff CDC, Inc. (“CDC”) has filed a Motion to

Approve Stipulation Resolving Adversary Proceeding and Request for Entry of

Judgment” (the “Motion”). By the Motion, CDC seeks approval of the “Settlement

Stipulation” (the “Stipulation” attached as Exhibit A to the Motion), and entry of the

non-dischargeable judgment (attached as Exhibit B to the Motion). In support of the

Motion, CDC would show the Court as follows:

                                   Statement of Facts

      1.     On January 1, 2012, CDC filed a Complaint alleging under 11 U.S.C.

§ 523(a)(4) and (6) that defendant Molonai Hola (“Mr. Hola”) was personally liable for

a non-dischargeable judgment in an amount not less than $181,882.00, and alternatively

alleging under 11 U.S.C. § 727(a)(4) and (5) that the discharges of both Mr. Hola and

defendant Lindsay Hola (“Mrs. Hola”) should be denied.

      2.     The substance of CDC’s § 523 claims were and are believed to be

meritorious, based on a fiduciary obligation imposed upon a general contractor by Utah

law to properly handle and not misdirect funds owing for work performed by a

subcontractor.

      3.     The recitals of the Stipulation set forth the reasoning for Mr. Hola’s

liability on CDC’s § 523 claim, including the following:




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              a.     At all relevant times prior to 2012, [Mr.] Hola was the majority

       owner and a director, president, and agent for Icon Consulting Group, Inc.

       (“Icon”).

              b.     In or about May 2010, Icon was awarded a contract for the

       replacement of a roll-up rubber door at the U.S. Army Contracting

       Agency/Dugway Proving Ground, Utah, a Federal facility (“Dugway”) (the

       “Dugway Contract”).

              c.     CDC completed the work provided for in the contract, and Dugway

       paid Icon for that work, but Icon used the Dugway Contract money to pay on non-

       Dugway-related contracts other than its contract with CDC, and Icon was unable

       to pay CDC.

              d.     Icon was subsequently unable to pay its debts, and ceased operation.

              e.     As a result of Icon’s failure to remit payment to CDC, CDC suffered

       a loss of at least $181,882.00.

       4.     Additionally, Mr. Hola testified in a Rule 2004 examination that he had

taken the Utah examination to qualify as a general contractor, he was aware of the

obligation of a general contractor to use the funds it receives to pay subcontractors on the

relevant project, and that the decision to use the Dugway Contract funds for other

purposes was “solely, really, [his] decision.” Hola 2004 Examination, December 8, 2011,

at pages 50-51, and 133 (a copy of which is attached hereto as Exhibit A).



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       5.     In the interest of expeditious resolution, the Parties have entered the

Stipulation resolving the adversary proceeding, which Stipulation provides for payment

of $20,000 (which funds have been tendered to CDC from non-estate sources), and entry

of a non-dischargeable judgment against Mr. Hola in the amount of $60,000.

       6.     There are issues of fact, including Mr. and Mrs. Hola’s intent in omitting

certain relevant items from their schedules and statement of financial affairs, that would

need to be established in order for any party to prevail on the pending § 727 action.

       7.     On November 17, 2011, the Trustee in this case filed a no-asset report, and

though that report has since been withdrawn, it is not believed that the Trustee in this

case intends to administer any assets in the case.

       8.     The Stipulation’s focus is on resolution of the § 523 claims, as evidenced

by the fact that Mrs. Hola (against whom only § 727 claims were asserted) will not be

liable for the judgment to be entered; only Mr. Hola (against whom § 523 claims were

asserted) will be liable.

       9.     Contemporaneously herewith, CDC will give notice of the hearing to

approve the Stipulation to the Chapter 7 Trustee, the U.S. Trustee, and all parties

appearing on the matrix of the main bankruptcy case.

                                     Legal Discussion

       Fed. R. Bankr. P. 7041 requires that before an adversary proceeding involving

claims under 11 U.S.C. § 727 is dismissed, certain parties must be given notice and an



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opportunity to object to the dismissal. While the parties in this case intend that the

adversary proceeding be resolved by entry of a non-dischargeable judgment, rather than

simply dismissed, it seems prudent to follow the procedure set forth in Fed. R. Bankr. P.

7041. The Parties believe this settlement stipulation should be approved because it

involves resolution of principally § 523 claims and only secondarily § 727 claims, the

complexity, expense, inconvenience and delay occasioned by ongoing litigation can be

avoided, deference should be given to consensual dispute resolutions, and all parties-in-

interest will be afforded an opportunity to object.

       Courts interpreting the requirements of Rule 7041 have varied in their opinions of

whether a § 727 action can ever be settled in a way that would benefit only one creditor.

See generally Wm. Cameron and Co. v. Gresham (In re Gresham), 4:06-CV-008-A, 2006

WL 2924622 (N.D. Tex. Oct. 12, 2006), and cases cited therein. However, courts finding

that such actions cannot be settled generally arise where no § 523 action has been pled,

see Pennwell Printing Co. v. Stout (In re Stout), 262 B.R. 862 (Bankr. D. Colo. 2001) (“A

far more difficult question is presented to the court when it is asked to approve the

compromise that resolves a creditor’s adversary proceeding which includes claims for

relief under both section 523 and section 727.”), and more recent authority places the




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matter within the discretion of the Court. Bank One v. Kallstrom (In re Kallstrom), 298

B.R. 753, 757 (10th Cir. BAP 2003); 1 Gresham, 2006 WL 2924622.

       In Gresham, the District Court in the Northern District of Texas set forth eight

factors to be considered in determining whether a stipulation for dismissal should be

approved. The following table summarizes those factors, and their application to the

facts alleged above.



Consideration of the strong policy in favor       This settlement stipulation was reached by
of consensual dispute resolution                  consent, as evidenced by the signatures
                                                  thereto
Potential success of the § 727 claim,             The debtors would testify that they did not
though no showing of certain failure is           intend to mislead anybody in their
required                                          statements and schedules, and that any
                                                  omissions were mere oversights
The complexity, expense, inconvenience,           Discovery and litigation to disprove a
and delay attendant in the litigation             stated lack of intent is expensive and
                                                  uncertain
Whether estate funds will be used in              Non-estate funds have been used to satisfy
settlement                                        the initial $20,000 payment, and will be
                                                  used to satisfy all future payments
                                                  contemplated by the Stipulation
Whether one creditor’s recovery will come         No other creditors have asserted any right
at the expense of other creditors                 to post-bankruptcy assets
Whether other creditors will benefit from         As this bankruptcy case will likely resolve
the settlement by reduction of the claims         as a no-asset case, neither benefit nor harm
against the estate                                to other creditors is likely to arise by any
                                                  dilution or withdrawal of claims in the
                                                  case, proof of which has not been requested


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        Note that a footnote in Kallstrom suggests that Rule 9019 should apply to a
motion such as this; however, Rule 9019, by its terms only permits a trustee to seek court
approval of a settlement.

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Notice to other creditors and an opportunity                               Notice given and presumably no objections
to object and substitute                                                   will be asserted
Prima facie evidence of the merits of any                                  As set forth in the statement of facts above,
§ 523 claim                                                                CDC is confident it could succeed on its
                                                                           § 523 claims because a general contractor
                                                                           owes fiduciary duties to his subcontractors,
                                                                           and Hola knowingly and personally caused
                                                                           Icon to violate those duties, rendering him
                                                                           personally liable for a breach of fiduciary
                                                                           duty


             For these reasons, CDC believes that the factors to be considered dictate that the

settlement stipulation should be approved, and a non-dischargeable judgment against Mr.

Hola should be entered in the amount of $60,000, in complete and final resolution of the

above-referenced adversary proceeding.

             Wherefore, CDC requests approval of the Stipulation and entry of the judgment

attached to the Motion as Exhibit B.

             DATED this 17th day of September, 2012.

                                                                     PRINCE YEATES & GELDZAHLER


                                                                           /s/ T. Edward Cundick
                                                                     T. Edward Cundick
                                                                     Attorney for Plaintiff C D C, Inc. d/b/a
                                                                     Crawford Door Sales

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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 17th day of September, 2012, I served the foregoing

MEMORANDUM IN SUPPORT OF MOTION TO APPROVE STIPULATION

RESOLVING ADVERSARY PROCEEDING AND REQUEST FOR ENTRY OF

JUDGMENT by depositing a true and correct copy thereof in the United States mail,

postage prepaid, to the following:


       Duane H. Gillman
       DURHAM JONES & PINEGAR
       111 East Broadway, Suite 900
       Salt Lake City, UT 84110-4050

       United States Trustee
       Ken Garff Bldg.
       405 South Main Street, Suite 300
       Salt Lake City, UT 84111

      W. Sean Mawhinney
      MAWHINNEY LAW
      200 West Civic Center Drive, Suite 300
      Sandy, UT 84070




                                                      /s/ Nancy D. Williams
                                                Nancy D. Williams




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